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        UNITED STATES BANKRUPTCY COURT
        DISTRICT OF NEW JERSEY
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        Co-Counsel for the Official
         Committee of Talc Claimants
                                                                 Chapter 11
        In re:
        LTL MANAGEMENT, LLC,1                                    Case No.: 23-12825 (MBK)

                                 Debtor.                         Honorable Michael B. Kaplan


    1     The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
          501 George Street, New Brunswick, New Jersey 08933.
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       FIRST INTERIM APPLICATION FOR ALLOWANCE OF POST-DISMISSAL FEES
             AND REIMBURSEMENT OF EXPENSES TO GENOVA BURNS, LLC
             FOR THE PERIOD AUGUST 12, 2023 THROUGH JANUARY 31, 2024

    TO:    THE HONORABLE MICHAEL B. KAPLAN
           UNITED STATES BANKRUPTCY JUDGE

            The Application of GENOVA BURNS LLC (“Genova Burns”), local counsel to the Official

    Committee of Talc Claimants (“TCC”), respectfully states to the Court as follows:

           1.      The members and associates of Genova Burns are all attorneys at law of the State of

    New Jersey and are duly admitted to practice before this Court.

           2.      On April 4, 2023, the Debtor filed a Voluntary Chapter 11 Petition in the United States

    Bankrutpcy Court for the Dsitrict of New Jersey [dkt #1].

           3.      On April 14, 2023, a Notice of Appointment of the Official Committee of Talc

    Claimants was entered [dkt #162]. Genova Burns was retained to serve in the capacity of local

    counsel to the Official Committee of Talc Claimants by Order of this Court dated June 12, 2023

    [dkt #754], which retention was effective April 14, 2023. A copy of such retention Order is

    annexed hereto as Exhibit "A".

           4.      On August 11, 2023, the within Chapter 11 proceeding was dismissed and the

    Debtor filed an appeal.

           5.      The within Application represents Genova Burns’ First Interim Post-Dismissal

    Application for Compensation as local counsel to TCC and covers the period August 12, 2023

    through January 31, 2024.

           6.      Genova’s computerized time sheets, previously filed with the Monthly Fee

    Statements covering the Application Period (as referenced below), detail the services rendered by

    the members and associates of Genova, the hourly rate charged by each member, associate or
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    paralegal, and the actual time expended in the performance of such services. Attached as Exhibit

    “B” are additional timesheets of Genova Burns, which represents necessary, non-appellate

    administrative tasks performed by Genova Burns during this time period, but were not presented

    on Monthly Fee Statements, which total an additional $30,400.00 in fees, and $215.60 in expenses.

    Total of said time reflect that Genova Burns has expended 204.60 hours in performing services for

    TCC, resulting in charges of $125,415.00. The blended hourly rate charged herein is $612.98 which

    your applicant believes is fair and reasonable in light of the nature of the services rendered and the

    expertise of the professionals rendering such services.

           7.       As previously submitted with the monthly fee statements and in the attached Exhibit

    B, out of pocket disbursements incurred by Genova Burns in the performance of its duties as local

    counsel to TCC total $4,728.20.

           8.       Monthly Fee Statements were prepared and served pursuant to the Administrative Fee

    Order Establishing Procedures for Allowance of Interim Compensation and Reimbursement of

    Expenses of Professionals entered on May 22, 2023.

          Date            Fees        Less 20%        Fee Payment       Payment          Expense
                                                       Requested        Received      Reimbursement
                                                                         (fees &         (100%)
                                                                        expenses)

       August 12-      $19,325.00     ($3,865.00)      $15,460.00       $15,460.00          $0.00
        31, 2023
      (Dkt #1421)

       September       $13,732.50     ($2,746.50)      $10.986.00      $10,730.00           $0.00
          2023
      (Dkt #1542)

        October        $24,435.00     ($4,887.00)      $19,548.00       $14,841.05         $780.05
         2023
      (Dkt #1592)
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       November
         2023         $14,610.00     ($2,922.00)      $11,688.00      $11,114.76           $0.00
      (Dkt #1610)

       December
         2023         $15,255.00     ($3,051.00)      $12,204.00      $15,493.79        $3,716.55
      (Dkt #1646)

        January
          2024         $7,977.50     ($1,595.50)      $6,382.00          $0.00            $16.00
      (Dkt #1684)


           9.       Annexed hereto and made part hereof as Exhibit "C" is the Affidavit of Daniel M.

    Stolz, submitted in accordance with the provisions of Section 504 of the Bankruptcy Code.

           10.      The Order of the Court dismissing the LTL Chapter 11 case provided that the TCC

    remained in existence for all appellate matters, and that the TCC professionals would be

    compensated by the Debtor for such services.

           11.      Subsequent to dismissal of the Chapter 11 case, your applicant was required to

    perform significant services unrelated to appeals. Those services primarily related to coordination

    and filing of all final fee applications of the TCC professionals, as well as seeking payment of the

    pre-dismissal expenses of TCC members. Your applicant has served as a single source of

    communication with LTL’s counsel, specifically James Lawlor, Esq., who is responsible for the

    resolution of any disputes with regard to final feel applications of the TCC professionals. Shortly

    after the first monthly post-dismissal bills were submitted to the Debtor for payment, your

    applicant engaged in communications with the Debtor, through Mr. Lawlor, with regard to the

    non-appellate essential services being rendered by your applicant. An agreement was reached,

    pursuant to which these non-appellate services would be paid at a rate of 50%. With regard to

    most monthly billings which have been submitted ot the Debtor, the Debtor has paid 80% of the
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    fees for appellate services, and 50% of the services for non-appellate services. In the within fee

    application, your applicant similarly seeks full payment, including the 20% holdback, for all

    appellate services, and 50% of the fees generated with regard to non-appellate services.

      Total Fees      Total appellate      50% payment of           Total Fees         Expense
                          work            non-appellate work        Requested       Reimbursement
                                                                                         (100%)


     $125,415.00 $56,585.00               $34,415.00          $91,000.00           $4,728.20
                                          (50% of $68,830.00)


           WHEREFORE, Genova Burns respectfully requests the entry of the annexed Order, granting

    a interim allowance of compensation in the amount of $125,415.00, together with reimbursement of

    actual out-of-pocket disbursements in the amount of $4,728.20, for a total award of $130,143.20, less

    the amount agreed upon for 50% of necessary, non-appeal work as per above chart.


                                                  Respectfully submitted,

                                                  GENOVA BURNS LLC


                                                  By: /s/ Daniel M. Stolz
                                                     DANIEL M. STOLZ
    Dated: April 4, 2024
